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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA, )
                          )
         Plaintiff,       )
                          ) C.A. No. 20-1744-CFC
    v.
                          )
WALMART INC. AND WAL-MART )
STORES EAST, LP,          )
                          )
         Defendants.      )
                          )

                              [PROPOSED] ORDER
         WHEREAS, Defendants Walmart Inc. and Wal-Mart Stores East, LP having

moved the Court to dismiss portions of the Second Amended Complaint (D.I. 109)

with prejudice pursuant to Fed. R. Civ. P. 12(b)(6) (the “Motion”).

         WHEREAS, the Court having considered the Motion,

         IT IS HEREBY ORDERED this ____ day of ____________, 2024, that the

Motion is GRANTED. Counts II, III, and IV of the Second Amended Complaint

are dismissed in their entirety with prejudice.

                                 ____________________________________
                                 CHIEF UNITED STATES DISTRICT JUDGE




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